                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF MISSOURI
                                      WESTERN DIVISION


KANSAS CITY CEMENT MASONS                                    )
PENSION FUND, et al.,                                        )
                                                             )
                                               Plaintiffs,   )
           v.                                                )      No: 16-01258-CV-W-JTM
                                                             )
LAN-TEL COMMUNICATIONS SERVICES, INC.,                       )
                                                             )
                                               Defendant,    )
                                                             )
           and                                               )
                                                             )
BANK LIBERTY,                                                )
                                                             )
                                               Garnishee.    )


                                             PRAECIPE


           Please issue a writ of execution in this cause against Lan-Tel Communications Services,

Inc., returnable in thirty (30) days.

           Date of Judgment:                        March 7, 2018
           Total of Judgment:                       $36,537.70
           Interest (2.03%)                              67.06
           Balance Due:                             $36,604.76


                                               ARNOLD, NEWBOLD, WINTER & JACKSON, P.C.



                                               /s/ John J. Westerhaus                     _____
                                               John J. Westerhaus, MO No. 65266
                                               1100 Main Street, Suite 2001
                                               Kansas City, Missouri 64105
                                               Phone: (816) 421-5788
                                               Fax: (816) 471-5574
                                               Attorneys for Plaintiffs




{00346963;CM16-173;AA }

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